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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                   AMARILLO DIVISION

 CHELSEA KROGER ACOSTA,                            §
 individually and as next friend and as            §
 INDEPENDENT ADMINISTRATOR of                      §
 the ESTATE OF EMERSON KATE                        §
 COLE, Deceased, and CAROLE                        §
 KROGER,                                           §
                                                   §
         Plaintiffs,                               §           Civil Action No. ______________
                                                   §
 v.                                                §
                                                   §
 AMARILLO INDEPENDENT                              §
 SCHOOL DISTRICT,                                  §
                                                   §
         Defendant.                                §

                       APPENDIX OF DOCUMENTS IN STATE COURT

       Tab                                Description                              Filing Date
                                                                                      Printed
        A       Docket Sheet / Transaction Record
                                                                                    06/27/2024

        B       Plaintiff’s Original Petition for Declaratory Judgment              05/30/2024


        C       Request for Issuance of Citation                                    05/30/2024


                Citation and Return of Service on Defendant Amarillo
        D                                                                           06/10/2024
                Independent School District


                                                       Respectfully submitted,



                                                       By:    /s/Meredith Prykryl Walker
                                                              Meredith Prykryl Walker
                                                              State Bar No. 24056487
                                                              Andrea Slater Gulley
                                                              State Bar No. 24045994

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                                                     ATTORNEYS FOR DEFENDANT

                                    CERTIFICATE OF SERVICE

        On June 28, 2024, I electronically submitted the foregoing document with the clerk of court
for the United States District Court, Northern District of Texas, using the electronic case filing
system of the court. I hereby certify that I have served all counsel of record electronically or by
another manner authorized by Federal Rule of Civil Procedure 5(b)(2).

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                                                     /s/Meredith Prykryl Walker
                                                     Meredith Prykryl Walker




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